






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00113-CR






Dawn Schuetz, Appellant



v.



The State of Texas, Appellee







FROM THE COUNTY COURT OF LEE COUNTY


NO. 16891, HONORABLE ROBERT B. LEE, JUDGE PRESIDING







Appellant Dawn Schuetz waived her right to counsel and her right to a jury trial, and
pleaded no contest to an information accusing her of failing to appear.  See Tex. Penal Code Ann.
§ 38.10 (West 1994).  The county court adjudged her guilty, and as called for in a plea bargain
agreement, imposed a $750 fine.  She appeals pro se.

Appellant contends that "[w]hen the judge rejected Appellant's nolo contendere plea,
Appellant should have been allowed to withdraw plea."  She further argues that she would have
withdrawn the plea because there was evidence to exonerate her, as she contends she told the county
attorney during plea negotiations.  Appellant's arguments reflect a misunderstanding of her plea. 
A plea of nolo contendere, or no contest, is the equivalent of a plea of guilty insofar as a criminal
prosecution is concerned.  Tex. Code Crim. Proc. Ann. art. 27.02(5) (West 1989).  The plea admits
every element of the offense and is legally sufficient in itself to support a misdemeanor conviction. 
Ex parte Williams, 703 S.W.2d 674, 678 (Tex. Crim. App. 1986).  In such a case, the court may
assess punishment with or without evidence, at its discretion.  Tex. Code Crim. Proc. Ann. art.
27.14(a) (West 1989).  By accepting the plea bargain, appellant forfeited her right to contest the
accusation in exchange for the certainty of a lesser punishment.  See Ex parte Williams, 637 S.W.2d
943, 947 (Tex. Crim. App. 1982).  By finding appellant guilty, the trial court did not "reject" the
plea, but instead gave it its proper legal effect.  Issues one and three are overruled.

Appellant further contends that the county court erred by rendering a judgment nunc
pro tunc without notice or a hearing.  The original judgment erroneously recited that appellant
pleaded guilty.  The judgment nunc pro tunc corrected that clerical error and properly reflects the
nolo contendere plea.  See Curry v. State, 720 S.W.2d 261, 262 (Tex. App.--Austin 1986, pet. ref'd)
(function of judgment nunc pro tunc).  No error is presented.

The judgment of conviction is affirmed. (1)



				__________________________________________

				Mack Kidd, Justice

Before Justices Kidd, B. A. Smith and Puryear

Affirmed

Filed:   August 30, 2001

Do Not Publish
1.        Appellant's motion for summary judgment is overruled.


